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                            IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,
                                                         MEMORANDUM DECISION AND
                           Plaintiff,                    ORDER DENYING MOTION FOR JAMES
                                                         HEARING
v.

LYLE STEED JEFFS, et al.,                                Case No. 2:16-CR-82 TS
                           Defendants.                   District Judge Ted Stewart



          This matter is before the Court on Defendant Nephi Steed Allred’s Motion for James 1

Hearing. The other Defendants have joined the Motion.

          Fed. R. Evid. 801(d)(2)(E) provides: “A statement that meets the following conditions is

not hearsay: [t]he statement is offered against an opposing party and . . . was made by the party’s

coconspirator during and in furtherance of the conspiracy.” Under Fed. R. Evid. 801(d)(2)(E),

statements by co-conspirators are properly admissible as non-hearsay at trial if the Court

determines, by a preponderance of the evidence, that (1) a conspiracy existed; (2) the declarant

and the defendant were both members of the conspiracy; and (3) the statements were made in the

course of and in furtherance of the conspiracy. 2 It is the burden of the government to prove each




          1
              United States v. James, 590 F.2d 575 (5th Cir.) (en banc), cert. denied, 442 U.S. 917
(1979).
          2
              United States v. Urena, 27 F.3d 1487, 1490 (10th Cir. 1994).

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of the elements by a preponderance of the evidence and it is the trial court that determines

admissibility. 3

        “Before making a final ruling on the admissibility of such statements, a district court may

proceed in one of two ways: (1) hold a James hearing outside the presence of the jury or (2)

provisionally admit the evidence but require the Government to connect the statements to the

conspiracy during trial.” 4 A James hearing is the “strongly preferred” method in the Tenth

Circuit of determining the admissibility of coconspirator statements. 5 However, this remains a

preference and the district court retains discretion. 6 The Tenth Circuit has held that there is no

abuse of discretion in denying a pretrial James hearing when the hearing would be lengthy and

would entail calling and recalling officers and witnesses in an elaborate and repetitive

procedure. 7

        Given the nature of this case, the Court declines to conduct a James hearing at this time.

Instead, within twenty-one (21) days before trial, the government is directed to submit a written

proffer detailing the evidence it believes shows the existence of the conspiracy and the

membership of that conspiracy. 8 In addition, the government shall include a list of statements, or




        3
        Bourjaily v. United States, 483 U.S. 171, 175–76 (1987); United States v. Owens, 70
F.3d 1118, 1123 (10th Cir. 1995).
        4
            United States v. Cornelio-Legarda, 381 F. App’x 835, 845 (10th Cir. 2010).
        5
            Urena, 27 F.3d at 1491.
        6
            Id.
        7
            United States v. Hernandez, 829 F.2d 988, 994 (10th Cir. 1987).
        8
         The government’s response to the Motion for James hearing provides some evidence
supporting the existence of a conspiracy, but does not adequately address the membership of the
alleged conspiracy.

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categories of statements, that it will seek to introduce as co-conspirator statements. After review

of that proffer, Defendants may re-assert their request for a James hearing, if necessary.

       It is therefore

       ORDERED that Defendants’ Motion for James Hearing (Docket No. 327) is DENIED

WITHOUT PREJUDICE.

       DATED this 22nd day of August, 2016.

                                              BY THE COURT:



                                              Ted Stewart
                                              United States District Judge




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